   Case 3:22-cr-00047-BJB-RSE Document 24 Filed 07/05/22 Page 1 of 1 PageID #: 83



A0-455 (Rev . 01/09) Waiver ofan Indictment                                                   ,,"

                                       UNITED STATES DISTRICT COURT
                                                          for the
                                               Western District of Kentucky   [31

                  United States of America                  )
                                 V.                         )       Case No. 3:22CR-47-BJB
                BRYAN ANDREW WILSON                         )
                                                            )
                             Defendant                      )

                                              WAIVER OF AN INDICTMENT

        J understand that 1 have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date: - - -- - - - -




                                                                                       BRIAN P. BULTER
                                                                              Primed 11ame of defe11dant 's allomey




                                                                    BENJAMIN BEATON, US DISTRICT COURT JUDGE
                                                                                    Judge's printed name and title
